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FILED

JAMES J. VILT JR., CLERK
U.S. DISTRICT COURT
W/D OF KENTUCKY

AO 91 (Rev. LW 1) Criminal Complaint

UNITED STATES DISTRICT COURT Dats Mar 21, 2022

 

for the
WESTERN DISTRICT OF KENTUCKY

 

 

 

UNITED STATES OF AMERICA )
v.
Case No. 5:22MJ-80-LLK
RICHARD MIDDLETON )
Defendant
CRIMINAL COMPLAINT

I, T.J. Worthen, the complainant in this case, state the following is true to the best of my knowledge and

belief.

In or about and between February 10, 2022, and March 9, 2022, in Livingston County, Kentucky, in the
Western District of Kentucky, the defendant violated:

Count f:
Code Section:

Offense Description:

Count 2:
Code Section:

Offense Description:

Count 3:
Code Section:

Offense Description:

Count 4:
Cade Section:

Offense Description:

Count 3:
Cade Section:
Offense Description

Count 6:
Code Section:

Offense Description:

Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C}
Distribution of Methamphetamine — a quantity containing a mixture and substance
containing a detectible amount of Methamphetamine

Title 21, United States Code, Sections 841(a}(1) and 841(b)(1)(B)(viii).
Distribution of Methamphetamine — 50 grams or more of a mixture and substance
containing a detectible amount of Methamphetamine

Title 18, United States Code, Sections 922(a)(1)(A), 923(a), and 924(a)(1)(D)
Engaging in the Business of Dealing Firearms Without a License

Title 18, United States Code, Section 924(c)(1}(A)
Possession of a Firearm in Furtherance of a Drug Trafficking Crime

Title 18, United States Code, Section 922(g)(1) and 924(a)(2)
Prohibited Person in Possession of a Firearm

Title 18, United States Code, Section 2; Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(B)(viii).

Distribution of Methamphetamine (Aid and Abet) — 50 grams or more of a mixture and
substance containing a detectible amount of Methamphetamine
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This criminal complaint is based on these facts:

See Affidavit in Support of Criminal Complaint, incorporated as if fully set forth herein.

T.J. Worthen
Special Agent
Department of Alcohol, Tobacco, Firearms, and Explosives

QXX — Continued on the attached sheet

Sworn to’attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone and
email.

Date: March 21, 2022 oUt

Hon. Lanny Kifg, United Sratés Magistrate Judge

City and State: Paducah, Kentucky
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

Comes now Your Affiant, Special Agent T.J. Worthen of the Bureau of Alcohol, Tobacco,
Firearms, and Explosives (ATF), first being duly sworn, now deposes and says:

1. [am an ATF Special Agent and have been so employed since January 2016. Priorto
my employment with ATF, Your Affiant worked as a law enforcement officer for several agencies,
beginning in 2003. I am presently assigned to the Paducah Satellite Office. My duties include, but
are not limited to, that of enforcing the federal firearms laws under Title 18, United States Code. |
am a graduate of the Federal Law Enforcement Training Center, the James J. Rowley Training
Center of the United States Secret Service, The Kentucky Department of Criminal Justice Training
Center, the United States Federal Air Marshal Training Program and most recently the ATF National
Academy, and as a result of my training and experience as a law enforcement officer, as well as an
ATF special agent, | am familiar with federal criminal laws and federal firearms and drug laws.
During my experience with ATF, I have been involved in many investigations involving armed
criminals and drug traffickers; as a result, [ have become familiar with federal and state firearms and
drug laws.

2. This Affidavit is being submitted for the limited purpose of securing an arrest warrant
for Richard MIDDLETON (hereinafter “MIDDLETON”). Since this Affidavit is being submitted
for the limited purpose of securing an arrest warrant for MIDDLETON, your affiant has not included
each and every fact known concerning this investigation.

3. Based on the facts of the investigation, your affiant has cause to believe that on or
about and between February 4, 2022, and March 9, 2022, in the Western District of Kentucky,
Livingston County, Kentucky, MIDDLETON committed the federal firearms and narcotics

violations alleged herein.

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4, The statements in this Affidavit are either known to me personally, based on my
personal involvement, information provided verbally to me by other law enforcement personnel,
information received by a review of court documents and, records maintained by the National Crime
Information Center (NCIC), as well as my training experience, and the training and experience of
other law enforcement officers.

PROBABLE CAUSE

5. The ATF is currently conducting an investigation of Richard MIDDLETON
(Hereinafter MIDDLETON), a subject known to traffic in drugs and firearms. From in or about
February 4, 2022, until present, ATF has conducted multiple undercover purchases of
methamphetamine and firearms from MIDDLETON. More specifically, five firearms and more than
five ounces of a mixture and substance containing methamphetamine have been taken into ATF
custody during that time.

6. On February 3, 2022, your affiant met with an ATF Confidential Informant
(Hereinafter CI) who advised MIDDLETON offered to sell Cl one ounce of methamphetamine for
six hundred dollars ($600.00). Your affiant knows the CI to be credible and reliable based on
interviews with the CI, as well as independent law enforcement corroboration.

7. On February 4, 2022, your affiant and ATF Task Force Officer (TFO) Mark Watkins
met with CI at an undisclosed location to conduct a controlled purchase of drugs from
MIDDLETON. TFO Watkins searched Cl] and CI’S vehicle. No contraband was found. CI was
briefed and fitted with a monitoring device and provided seven hundred fifty dollars ($750.00) in
Agent Cashier funds. Also present during the operation were the following persons, ATF SA
Michael Beerwart, HSI SA William Howland, HSI] SA Ned Arthur, LCSO Chief Deputy Sam

Adams, and LCSO Deputy Seth P’Pool.

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8. CI departed the meet location for MIDDLETON'S residence, located at 743 Belcher
Road, Tiline, KY. Your affiant and TFO Watkins followed. CI arrived at MIDDLETON’S property
and made contact with MIDDELTON. During this interaction, CI paid MIDDLETON six hundred
dollars in ($600.00) in Agent Cashier funds in exchange for one ounce of methamphetamine.

9. CI departed MIDDLETON’S residence. Your affiant and TFO Watkins followed CI
to an undisclosed location to be debriefed. CI provided your affiant the previously mentioned one
ounce of methamphetamine. Your affiant noted the material to be a crystal-like white substance
packaged in a clear plastic bag and tied in a knot. The package weighed approximately 30.8 grams
and field tested positive for methamphetamine.

10. On Wednesday, February 9, 2022, your affiant spoke with Cl who stated
MIDDLETON was willing to sell CI] two ounces of methamphetamine for one thousand dollars
($1000.00), and four (4) firearms for an unspecified amount.

11. OnFebruary 10,2022, your affiant and ATF Task Force Officer (TFO} Mark Watkins
met with Cl at an undisclosed location to be briefed. Cl and CI’S vehicle were searched by TFO
Watkins. No contraband was found. Cl was provided two thousand dollars ($2,000.00) in ATF
Agent Cashier (AC) funds and fitted with a recording device. Also present during the operation
were the following persons, ATF SA Michael Beerwart, HSI SA William Howland, HSI SA Ned
Arthur, LCSO Chief Deputy Sam Adams, LCSO Deputy Seth P’Pool, USFWS SA Jessie Fielder,
and USFWS Captain John Rayfield.

12. CI departed the brief location and travelled to MIDDLETON’S residence. Your
affiant and TFO Watkins followed. Surveillance units noted one of MIDDLETON’S vehicles,
described as a blue Ford Mustang, bearing KY plate AK Y428, was parked in the front yard. CI

arrived at MIDDLETON’S property and made contact with MIDDLETON.

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13. During this interaction, CI paid MIDDLETON one thousand dollars ($1,000.00) in
Agent Cashier funds for the following items:

e Ammo can that contained a Hi-Point/Iberia Firearms pistol, model JCP, .40

caliber, bearing serial number X7142275, with magazine inserted;

e Three magazines inside the ammo can; one containing seven (7) rounds of 9mm

ammunition;

e Manufacturers’ box for Hi Standard Sentinel Deluxe revolver and Hi Standard

revolver, model Sentinel Deluxe, .22 caliber, bearing serial number 1621664;

e Nine (9) expended .22 caliber shell casings located in the cylinder of the Hi

Standard revolver;

e Taurus pistol, model PT111G2A, 9mm, bearing serial number TMT38151;

e Styrofoam ammunition container containing twenty-one (21) rounds of 9mm

ammunition;

e Remington rifle, model 597, .22 caliber, bearing serial number C2691047; anda

* Remington rifle, model 550-1, .22 caliber, bearing serial number 711140.

14. During the same transaction, CI also paid MIDDLETON an additional one thousand
dollars ($1,000.00) in Agent Cashier funds in exchange for two ounces of methamphetamine.

15. Cl departed the location. Your affiant and TFO Watkins followed CI to an
undisclosed location and met with CI to be debriefed. Prior to the debrief, CI provided your affiant a
clear plastic bag containing a white substance suspected of methamphetamine, weighing
approximately 56.8 grams. Your affiant noted the material field tested positive for
methamphetamine. Your affiant and TFO Watkins conducted a search of CI and CI’S vehicle. No

additional contraband was found.
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16. Your affiant has reviewed numerous law enforcement databases such as Courtnet,
which reveal that MIDDLETON is a convicted felon, and thus not allowed to possess firearms to
wit: On or about February 17, 2021, in McCracken Circuit Court case number 13-R-454-002,
MIDDLETON was convicted of the offenses of Receiving Stolen Property $10,000 or more and
Third Degree Burglary, each a felony.

17. On March 9, 2022, your affiant spoke with CI who stated MIDDLETON offered to
sell CI two ounces of methamphetamine for one thousand dollars ($1,000.00).

18. = Your affiant, Lyon County Sheriff's Office (LCSO) Chief Deputy (CD) Samuel
Adams, and members of the Western Kentucky Violent Crimes Task Force (WK VCTF) met with Cl
in efforts to make a controlled purchase of methamphetamine and a firearm from MIDDLETON.
CD Adams conducted a search of Cl] and CI’S vehicle. No contraband was found. CI was fitted
with a recording device and provided eighteen hundred dollars ($1,800.00) in Agent Cashier funds.

19. Cl and surveillance units departed the briefing location and drove to MIDDLETON’S
residence. Cl arrived at MIDDLETON’S residence and made contact with MIDDLETON. During
this interaction, MIDDLETON sold CI once ounce of methamphetamine for four hundred fifty
dollars ($450.00). MIDDLETON informed CI that the other ounce was in Bobby COPELAND’s
camper. Cl and MIDDLETON left MIDDLETON’S camper and entered an adjacent camper and
made contact with Bobby COPELAND.

20. © COPELAND packaged one ounce of methamphetamine into a clear plastic baggie for
CI. Cl attempted to hand COPLEAND four hundred fifty dollars ($450.00), however MIDDLETON
took the money instead. MIDDLETON then handed COPELAND the four hundred and fifty dollars
($450.00), and COPELAND gave CI one ounce of methamphetamine.

21. Cl departed MIDDLETON’S residence and met with your affiant and CD Adams to

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be debriefed. CI provided your affiant with two plastic baggies containing a crystal white substance.
Both items field tested positive for methamphetamine. One baggie weighed approximately 27.1
grams. The other baggie weighed approximately 28.8 grams. Cl and CI’s vehicle were searched by
CD Adams. No other contraband was found. CI returned nine hundred dollars in Agent Cashier
funds and the recording device.

22. Cl stated CI observed approximately three additional ounces of methamphetamine,
scales, and plastic baggies in COPELAND'S camper. CI stated the drugs and paraphernalia were on
the table in COPLEAND’S dining area, and that COPLEAND packaged the methamphetamine
which CI had purchased on that same table.

23. An interstate nexus examination was completed by an ATF expert on the firearms
mentioned above. Specifically, the firearms are identified as:

® one Hi-Point/Iberia Firearms pistol, model JCP, .40 caliber, bearing serial

number X7142275;

e® one Hi Standard revolver, model Sentinel Deluxe, .22 caliber, bearing serial
number 1621664;

one Taurus pistol, model PT111G2A, 9mm, bearing serial number TMT38151;
one Remington rifle, model 597, .22 caliber, bearing serial number C2691047;

e one Remington rifle, model 550-1, .22 caliber, bearing serial number 711140.

24. Based upon visual inspection, it was determined four of the five firearms were found
to be firearms as defined by federal statute, and not manufactured in the state of Kentucky. Based
upon this information, concerning the location of manufacture for the firearms, the presence of the
four firearms in Kentucky indicates that at some point the firearms travelled in or affected interstate

or foreign commerce. However, the Remington rifle, model 597, .22 caliber, bearing serial number

C2691047 was manufactured in the state of Kentucky.

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25. THEREFORE, based upon the above, your affiant has probable cause to believe that,
on or about February 4, 2022, in the Western District of Kentucky, Livingston County, Kentucky,
MIDDLETON, knowingly and intentionally distributed a mixture or substance containing a
detectable amount of methamphetamine, a Schedule [I] controlled substance, as defined in Title 21,
United States Code, Section 812, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(C).

26. Based on the above, your affiant has probable cause to believe, that on or about
February 10, 2022, in the Western District of Kentucky, Livingston County, Kentucky,
MIDDLETON knowingly and intentionally distributed fifty (50) grams or more of a mixture or
substance containing a detectible amount of Methamphetamine, a Schedule II controlled substance,
as defined in Title 21, United States Code, Section 812 and, in violation of Title 21, United States
Code, Sections 841(a)(1) and 841(b)(1)(B)(vili).

27. Your affiant has probable cause to believe, that on or about February 10, 2022, in the
Western District of Kentucky, Livingston County, Kentucky, MIDDLETON, not being a licensed
dealer of firearms within the meaning of Chapter 44, Title 18, United States Code, did willfully
engage in the business of dealing in firearms, in violation of Title 18, United States Code, Sections
922(a)(1)(A), 923(a) and 924(a)(1)(D).

28. Your affiant has further cause to believe, that on or about February 10, 2022, in the
Western District of Kentucky, Livingston County, Kentucky, MIDDLETON committed the offense
of possessing a firearm in furtherance of a drug trafficking crime, which is the drug trafficking crime
he committed on February 10, 2022, referenced in paragraphs 11-15 herein.

29. Your affiant has further cause to believe, that on or about February 10, 2022, in the
Western District of Kentucky, Livingston County, Kentucky, MIDDLETON committed the offense

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of being a prohibited person in possession of a firearm, in violation of Title 18, United States Code,
Sections 922(g2)(1) and 924(a)(2).

30. Your affiant has further cause to believe, that on or about March 9, 2022, in the
Western District of Kentucky, Livingston County, Kentucky, MIDDLETON, aided and abetted by
Bobby Copeland, knowingly and intentionally distributed fifty (50) grams or more of a mixture or
substance containing a detectible amount of Methamphetamine, a Schedule II controlled substance,
as defined in Title 21, United States Code, Section 812 and, in violation of Title 18, United States
Code, Section 2 and Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(viii).

31. | WHEREFORE, your affiant respectfully requests a warrant issue for the violations

alleged herein.

Further your Affiant sayeth naught.

 

Cae

Special Agent TJ Worthen
Bureau of Alcohol, Tobacco, Firearms, and
Explosives

Sworn to/attested to by the affiant in accordance with the requirements of Fed. R. Crim.

P. 4.1 by telephone and email.
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Honorable Lanny King

United States Magistrate Judge
United States District Court
Western District of Kentucky

Date: March 21, 2022
